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                       WIll Houston Have Two Pride Celebrations?
                       New Faces of Pride will hold a parade and festival one
                       week before Pride Houston.

                       Marene Gustin October 19, 2023        49   5 minutes read




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                       Story updated: 10/20/23

                       Pride in Houston has a new face—a new organization, actually—
                       called New Faces of Pride Houston.

                        “For a year now, people in the community have been saying
                       somebody has to do something about Pride,” said Realtor Bryan
                       Cotton, the new organization’s president. “So, I did.”

                       New Faces of Pride Houston will have a parade and festival
                       downtown next June 22.



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                                                  New Faces of Pride Houston logo



                       Born during the ’70s fight for equal rights in the wake of the
                       Stonewall Riots, Houston’s Pride parade made its official launch
                       in 1979. Through the gay-bar police raids, the AIDS crisis, and a
                       homophobic mayor in the late ’70s, the nonprofit Pride Houston
                       marched on as a rainbow beacon for the local LGBTQ
                       community. But it has not been without internal strife. As far
                       back as 1986, the Pride Committee quarreled over merchandise
                       and then faced backlash in 2015 when, with little community
                       input, it moved the Montrose-centric block party downtown. And
                       in 2017, Pride Houston (the name of the parade’s sponsor since
                       1992) filed a lawsuit against its former president Frankie Quijano,
                       alleging he had refused to turn over the organization’s business
                       assets. The parties agreed to a settlement in December of that
                       year, and Lorin “Lo” Roberts officially became the first Black
                       female president of the organization.

                       Jump forward just four years, when the organization fired
                       Roberts and filed a lawsuit against her and two former treasurers,
                       alleging they colluded to misrepresent and hide expenditures,
                       payments, and the overall financial standing of the organization.
                       Countersuits followed that are still ongoing, and Roberts is
                       currently vice president of internal affairs for Fort Bend County
                       Pride, whose festival is set for November 12.
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                       And during all this, the parade and festival were suspended for
                       two years due to COVID-19. This year, the downtown parade
                       took place without the usual pre-parade festival.

                       “It had been several years since we had a float in the parade,”
                       recalled Howard Huffstutler, president of The Diana Foundation,
                       the oldest continuously active gay organization in the country
                       that has raised and donated millions of dollars for local
                       community organizations. “So, we paid around $220 for a parade
                       fee in 2020, but of course the parade was canceled. When I
                       called about using the money for the next parade—not a refund,
                       mind you, but just to apply it to the next parade—I was told they
                       would do that.”

                       When the parade resumed in 2022, Huffstutler called again and
                       was told by the now-executive director, Kendra Walker, that they
                       didn’t have any money. “She said we had no credit because Pride
                       had had to pay bills and that was just the way it was,” he said.
                       “Then she said we could buy a new float permit for $2,000! She
                       wanted to charge another nonprofit $2,000. My board was
                       appalled. No way could we justify that when that money could
                       pay for a scholarship.”

                       The Diana Foundation clarified that they had no intention of
                       pursuing legal action over a mere $200, especially not against
                       another nonprofit within the community. A different vendor at
                       Pride Houston exhibited a less forgiving attitude regarding the
                       nonprofit’s outstanding website maintenance fee.

                       “We were hired in March of 2022,” said Heather Taylor of her
                       Mad Hat Maven creative agency. “We did the rebrand, new
                       website, parade theme—all of it.” Taylor said the nonprofit was
                       so short staffed that her staff wound up working at the festival,
                       she even took tickets at the gate. But when Pride month ended,
                       they were told they weren’t needed anymore. “We still had two
                       months on our contract when June was over, but they said we
                       were done,” Taylor said.                                                                 Exhibit 11
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                       Eventually, the nonprofit (now rebranded as Pride Houston 365)
                       paid the rest of Mad Hat Maven’s contract, but not the money
                       owed for maintaining the website. Taylor said it’s not about the
                       money, but the principle. “You don’t just stop paying your bills.”
                       Mad Hat Maven has been trying to collect approximately $2,000
                       for website services since last September, and decided to sue this
                       year.

                       Pride Houston 365 Executive Director Kendra Walker denied
                       speaking to Howard Huffstutler or having any correspondence
                       about the rollover fee. She also said Mad Hat Maven Creative
                       was in violation of their contract. That lawsuit is still pending.

                       Despite all the ongoing issues, Pride Houston 365 is making
                       plans for 2024, having secured permits for June 29 for the festival
                       and parade, with a theme of “You Won’t Break Our Pride.”




                                                   Pride Houston 365 logo



                       “We are financially solvent, we already have the money for 2024
                       and sponsors like ABC13 (our local TV affiliate), and we will open
                       registration on October 23,” says Executive Director Kendra
                       Walker. “But we were surprised that another organization had
                       applied for the week before.”

                       Susan Christian, director of the Mayor’s Office of Special Events,
                       confirmed the dates.                                                                     Exhibit 11
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                       “The new organization has a lot of people we have worked with
                       for years,” Christian says. “The events are not on conflicting
                       dates, we wouldn’t encourage having two Pride parades,” she
                       said, “but we can do it. There’s always room to be Prideful.”

                       In fact, Houston has had two Martin Luther King parades on MLK
                       Day for several years. And Los Angeles and the City of West
                       Hollywood (WeHo) split up in 2022, with the nonprofit L.A.
                       Parade moving back to L.A. and WeHo now hosting its own Pride
                       parade and events. This year they had two parades a week—and
                       just a few miles—apart.

                       The L.A. Times reported then that: Tensions between LA Pride’s
                       parent organization, Christopher Street West, and West
                       Hollywood’s city fathers had simmered for years. There was a
                       disastrous attempted rebrand in 2016 that critics dubbed “gay
                       Coachella,” spats over accounting, and a widespread feeling
                       among queer Angelenos of color that the organization and the city
                       were unwelcoming and unrepresentative.

                       “I don’t think our city can support two events of that magnitude,”
                       said Walker. “We were shocked to see all the people on the new
                       board who have worked with us in the past and some who are
                       involved in the ongoing lawsuits.”

                       “We know most of the members,” she adds. “It is what it is,
                       there’s nothing we can do about it. It’s going to be interesting,
                       but the goal should be that Houston has a celebration.”

                       When asked if the two organizations could merge, Walker was
                       pretty certain that would not happen.

                       “I don’t think so,” she said. “If that were the case, they would
                       have contacted us before.”

                       Cotton said New Faces of Pride Houston had a board meeting in
                       July, and already has sponsors for next year’s events. The    Exhibit 11
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                       organization has been approved as a charity by the Texas
                       Secretary of State and is now an active 501(c)(3) nonprofit.

                       “The City has been very happy to work with us,” he said. “And the
                       performing arts organizations are backing us, Houston Grand
                       Opera was very happy to hear about us. Plus, we have bars
                       where we intend to have Happy Hours every month.” New Faces
                       of Pride Houston will host its first official event November 9 at
                       Rich’s Houston.

                       “People have been coming out of the woodwork to support us,”
                       said Cotton. “It’s a sign that this is what the community needs
                       right now and that we are doing the right thing.”

                       For more information about New Faces of Pride Houston,
                       visit newfacesofpride.org and for Pride Houston
                       365, pridehouston365.org.

                        Comments




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